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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS
                                WICHITA DIVISION

EVERETT & PEGGY HENDERSON,                     )
                                               )
     Plaintiff,                                )
                                               )
     v.                                        )      Case No.: 10-1275-JWL-DJW
                                               )
KANSAS COUNSELORS, INC.,                       )
                                               )
     Defendant.                                )
                                               )

                    COMPLAINT AND DEMAND FOR JURY TRIAL

      EVERETT & PEGGY HENDERSON (“Plaintiff”), through KROHN & MOSS, LTD., allege

the following against KANSAS COUNSELORS, INC., (“Defendant”):

                                      INTRODUCTION

   1. Plaintiffs’ Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

      seq. (“FDCPA”).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                               JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Defendant is located and conducts business in the state of Kansas, therefore, personal

      jurisdiction is established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

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6. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                         PARTIES

7. Plaintiffs are natural persons residing in Sedan, Chautauqua County, Kansas.

8. Plaintiffs are consumers as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant.

9. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

10. Defendant is a corporation with a business office in Wichita, Kansas.

11. Defendant is a collection agency that in the ordinary course of business, regularly, on behalf

   of itself or others, engages in debt collection.

                              FACTUAL ALLEGATIONS

12. Defendant constantly and continuously places collection calls to Plaintiffs at 620-725-3420

   from 316-942-0451 on a daily basis, multiples times per day for months, seeking and

   demanding payment for an alleged consumer debt.

13. Defendant has contacted Plaintiffs after 9:00 p.m. local time for the Plaintiffs.

14. Defendant has failed to provide anything in writing to the Plaintiffs evidencing the alleged

   debt.

15. Defendant’s representatives are rude and abusive towards Plaintiffs in attempting to collect

   on the alleged consumer debt.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

16. Defendant violated the FDCPA based on the following:

       a. Defendant violated 1692c(a)(1) by contacting Plaintiff at any unusual time or place

           or a time or place known or which should be known to be inconvenient to the

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              consumer in that the Defendant contacted the Plaintiffs after 9:00 p.m. local time for

              the Plaintiffs;

          b. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

              consequence of which is to harass, oppress, or abuse the Plaintiffs in connection

              with the collection of a debt;

          c. Defendant violated §1692d(2) of the FDCPA by using rude and abusive language

              when speaking to Plaintiffs; and

          d. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

              repeatedly and continuously with the intent to annoy, abuse, and/or harass Plaintiffs.

   17. As a direct and proximate result of one or more or all of the statutory violations above

      Plaintiffs have suffered emotional distress.

      WHEREFORE, Plaintiffs, EVERETT & PEGGY HENDERSON, respectfully request

judgment be entered against Defendant, KANSAS COUNSELORS, INC., for the following:

   18. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection Practices

      Act;

   19. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692k; and

   20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k.

   21. Any other relief that this Honorable Court deems appropriate.




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RESPECTFULLY SUBMITTED,

                                       By: _____/s/ Raymond Probst___
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                                 DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiffs, EVERETT & PEGGY HENDERSON, demand a

jury trial in this case in Wichita, Kansas.




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